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               Attorneys for Defendant/Counterclaimant, DIGITAL GADGETS, LLC
          10
          11
                                        UNITED STATES DISTRICT COURT
          12
                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
          13
          14   Interworks Unlimited, Inc., a         Case No. 2:17-cv-4983 TJH KSx)
               California corporation,
          15                                         DEFENDANT/COUNTERCLAIMANT’S
                           Plaintiff,                RESPONSE TO PLAINTIFF’S
          16                                         INTERWORKS UNLIMITED INC.’S
                     v.                              STATEMENT OF
          17                                         UNCONTROVERTED FACTS
               Digital Gadgets, LLC., a New Jersey
          18   limited liability company,
                                                     Date: January 7, 2019
          19               Defendant.                Time: Under Submission
          20                                         Courtroom: 9B
               Digital Gadgets, LLC, a New Jersey
          21   limited liability company,
          22               Counterclaimant,
          23
                     v.
          24
               Interworks Unlimited, Inc., a
          25   California corporation,
          26               Counter-defendant.
          27
          28



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                DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         Defendant submits the following Response to Plaintiff’s Statement of
           2   Uncontroverted Facts:
           3
           4         PLAINTIFF’S STATEMENT                         DEFENDANT’S RESPONSE
           5
                1.    Plaintiff is a distributor of              Undisputed for the purposes of
           6
                electronic goods.                                this motion.
           7
                                                                 Undisputed for the purposes of
           8    2.     Plaintiff was the exclusive U.S.
                distributor of hoverboards manufactured          this motion.
           9    by the Chinese company, Hangzhou Chic
          10    Intelligent Technology Co., Ltd.
                including the hoverboard entitled “Chic
          11    High Roller Self Balancing Hoverboard,
          12    Model C” (“Model C”).
          13
          14                                                 Undisputed for the purposes of
                3.   In late 2016, Plaintiff started to sell
          15    Model C’s to QVC, Inc. (“QVC”).              this motion.
          16                                                     Undisputed for the purposes of
                4.     Prior to selling the Model C’s, the
          17    Plaintiff submitted the hoverboards to           this motion.
          18    QVC for quality testing. The Model C’s
                subsequently passed QVC’s quality
          19    testing.
          20
          21                                           Undisputed for the purposes of
                5.     Meghan Kane is QVC’s current
          22                                           this motion.
                account manager for performance
          23    marketing and was designated by QVC as
          24    the person most knowledgeable
                concerning QVC’s purchase of
          25    hoverboards from Plaintiff and
          26    Defendant.
          27
          28



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                DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1        PLAINTIFF’S STATEMENT                      DEFENDANT’S RESPONSE
           2                                                 Undisputed for the purposes of
                6.     Rafiq Zabrani is QVC’s current
           3
                Global Product Development Lead and          this motion.
           4    was designated by QVC as the person
           5    most knowledgeable regarding
                specifications and testing of the
           6    hoverboards.
           7
           8                                                 Undisputed for the purposes of
                7.    Two people that Defendant
           9    designated as having knowledge of this       this motion.
          10    case were Gillian Yip and Charles
                Tebele.
          11
          12                                                 Undisputed for the purposes of
                8.   The Model C’s were assigned by
          13                                                 this motion, except it was the
                QVC with a Stock Keeping Unit
          14    (“SKU”) number of T34604.                    hoverboards sold by Plaintiff to
          15
                                                             QVC, Inc. that were given the
          16
                                                             SKU of T34604.
          17
                                                             Undisputed for the purposes of
          18    9.     The Model C’s were designated as
                warehouse item. That means, after a          this motion.
          19    consumer purchased the hoverboards, the
          20    Plaintiff would deliver the product to
                QVC, who would deliver the product to
          21    the customer.
          22
          23                                               Undisputed for the purposes of
                10. For a drop ship item, as opposed to
          24
                a warehouse item, QVC continues to sell this motion.
          25    a vendor’s products; however, the vendor
          26    is not required to deliver the products to
                QVC, and QVC does not deliver to the
          27    consumer. Rather, a vendor delivers the
          28    products directly to the purchasing
                customer.



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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                      DEFENDANT’S RESPONSE
           2                                                  Undisputed for the purposes of
                11. As the holiday season approached,
           3
                QVC desired to purchase more Model            this motion.
           4    C’s from Plaintiff, and was interested in
           5    purchasing the hoverboards on a “drop-
                ship” basis. But the Plaintiff did not have
           6    the ability to “drop ship” the hoverboards
           7    to QVC’s customers.
           8
           9                                            Undisputed for the purposes of
                12. In or about December of 2016, the
          10    Plaintiff decided to enter into an      this motion including that
                arrangement with the Defendant who said Defendant would fill the shoes of
          11
                they had the ability to drop ship with
          12    QVC.                                    Plaintiff as the exclusive seller of
          13                                            the hoverboards.
          14                                                  Undisputed for the purposes of
                13. In that arrangement, the Defendant
          15    would purchase the Model C’s from the         this motion including that
          16    Plaintiff. QVC’s customer would then          Defendant would fill the shoes of
                purchase the boards from QVC and then
          17    the Defendant would ship the boards           Plaintiff as the exclusive seller of
          18    directly to QVC’s customer. The two           the hoverboards.
                individuals Plaintiff spoke to primarily
          19
                for the Defendant were Chris Mitchell
          20    and Charles Tebele. The Plaintiff and
          21    Defendant understood that Defendant
                was purchasing the same exact units that
          22    Plaintiff had been selling through QVC.
          23
          24                                                  Undisputed for the purposes of
                14. On or about December 9, 2016,
          25    Defendant placed an order with the            this motion.
          26    Plaintiff for 4800 Model C’s of varying
          27    colors.

          28



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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1        PLAINTIFF’S STATEMENT                         DEFENDANT’S RESPONSE
           2                                                    Undisputed for the purposes of
                15. The hoverboards were priced at
           3
                $190.00 per hoverboard for a total of           this motion.
           4    $912,000.00. The terms of the purchase
           5    was Net 60 Days.

           6
           7                                                    Undisputed for the purposes of
                16. The hoverboards were shipped to
           8    the Defendant in 8 separate shipments.          this motion.
           9
          10                                                    Undisputed for the purposes of
                17. Per Defendant’s instructions,
          11    Plaintiff shipped the hoverboards to            this motion.
                Phoenix Warehouse in the City of Santa
          12
                Fe Springs, who was providing the
          13    Defendant warehousing services.
          14
          15                                                    Undisputed for the purposes of
                18. After the hoverboards were
          16    shipped, the Plaintiff gave the Defendant       this motion.
          17    a requested discount of $30 on 1,613 of
                those 4800 hoverboards for a total
          18    discount of $48,390.00.
          19
          20                                                    Undisputed for the purposes of
                19. On or about December 23, 2016,
          21    the Defendant placed another order for          this motion.
          22    another 6000 “Model C” hoverboards of
                varying colors for $215.00 each. As with
          23
                the first purchase, the payment terms
          24    were Net 60 Days.
          25
          26                                                    Undisputed for the purposes of
                20. The Plaintiff then agreed to
          27    provide the Defendant with another              this motion.
          28    discount of $55.00 per hoverboard.




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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1        PLAINTIFF’S STATEMENT                       DEFENDANT’S RESPONSE
           2                                                  Undisputed for the purposes of
                21. This order was also shipped to
           3
                Phoenix Warehouse and in 5 separate           this motion.
           4    shipments.
           5
           6                                                  Undisputed for the purposes of
                22. Of the 6000 hoverboards ordered,
           7    the Plaintiff delivered a total of 5808       this motion.
           8    hoverboards for a total bill of
                $929,280.00.
           9
          10    23. In all, the Defendant has only made Undisputed for the purposes of
          11    three payments for the two orders: on or
                about December 23, 2016, the Plaintiff      this motion.
          12
                received a payment of $570,000.00; on or
          13    about March 1, 2017, the Plaintiff
          14    received another payment of $99,460.00,
                and, on or about March 13, 2017, the
          15    Plaintiff received another payment of
          16    $95,850.00. In all the Plaintiff received a
                total of $765,310 in payments from
          17
                Defendant.
          18
                                                              Undisputed for the purposes of
          19    24. Since then, there have been no
                other payments received for these two         this motion.
          20    purchases, nor has there been any
          21    additional discounts provided.
          22
          23                                                  Disputed. Defendant is entitled to
                25. Defendant, thus, has an
          24    outstanding balance owing of                  set off its damages from the
                $1,027,580.00.                                amounts due under the invoices
          25
          26                                                  that Plaintiff sued upon.
          27                                                  Undisputed for the purposes of
                26. The hoverboards that Defendant
          28    purchased from the Plaintiff were             this motion.
                assigned with the SKU number of
                T34764 (“764”).

                                                          6
               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                        DEFENDANT’S RESPONSE
           2                                                    Disputed. T34764 had the
                27. The 764 hoverboards were the
           3
                same identical hoverboards that Plaintiff       incorrect batteries.
           4    sold to QVC with the 604 SKU number.
           5
           6                                                    Undisputed for the purposes of
                28. The Model C’s were assigned a
           7    different SKU number because it was the         this motion.
           8    Defendant who were now selling the
                Model C’s, so QVC assigned a different
           9    SKU Number.
          10
          11                                                    Disputed. Initially, QVC did not
                29. The hoverboards that Defendant
          12                                                    test the hoverboards submitted by
                purchased from the Plaintiff were also
          13    submitted to QVC for quality testing and        Defendant. Instead, QVC
          14    eventually passed.
                                                                transferred the approval from
          15
                                                                T34604 to T34764 because the
          16
                                                                hoverboards were identical. See
          17
                                                                Exhibit 11. Later on, QVC tested
          18
                                                                T35011, which failed due to
          19
                                                                having an incorrect battery.
          20    30. At the start of the business                Undisputed for the purposes of
          21    arrangement in December of 2016, the
                Plaintiff and Defendant discussed the           this motion.
          22    Defendant being the exclusive vendor of
          23    the Model C’s for QVC. Defendant
          24    wished to be the exclusive supplier of the
                hoverboards to QVC. Plaintiff responded
          25    that they can have such an agreement but
          26    wanted to first meet to discuss their
                partnership further.
          27
          28



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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                     DEFENDANT’S RESPONSE
           2                                             Disputed. The parties agreed that
                31. Though the Plaintiff and Defendant
           3
                had discussed such an arrangement, the   Defendant would fill Plaintiff’s
           4    two sides never agreed to an exclusivity shoes as the exclusive seller
           5    agreement or execute any sort of written
                exclusivity agreement.                   because Plaintiff could not drop
           6
                                                         ship the hoverboards to QVC’s
           7
                                                             customers. Moreover, Plaintiff’s
           8
                                                             principal confirms that the parties
           9
                                                             entered into the arrangement on
          10
                                                             numerous occasions. See
          11
                                                             Declaration of Eric Lu in Support
          12
                                                             of Plaintiff’s Motion for Summary
          13
                                                             Judgment (“Lu Decl.”), p. ¶¶ 12-
          14
                                                             14; see Exhibit 17.
          15
                                                             Disputed in that this arrangement
          16    32. On or about April 16, 2017, the
                Defendant proposed, in part, on keeping      concerned the purchase of
          17
                all the boards, pay 50% by May 1, 2017,      hoverboards by Defendant’s
          18    pay the remaining 50% by June 5, 2017
                and have “an exclusive contract drafted      subsidiary, Magnification, Inc., a
          19
                per our conversation.” The Plaintiff never   separate venture altogether. See
          20    agreed this proposal.
                                                             Deposition Transcript of Charles
          21
                                                             Tebele (“Tebele Transcript”), p.
          22
                                                             64, ¶¶ 1-10.
          23
          24                                                 Undisputed for the purposes of
                33. On or about June 5, 2017, the
          25    Plaintiff wrote the Defendant an email       this motion.
                asking for outstanding payment or to
          26    have the Model C’s returned.
          27
          28



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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                         DEFENDANT’S RESPONSE
           2                                                     Undisputed except this was not the
                34. On or about June 6, 2017, the
           3
                Defendant responded that the                     first time Defendant provided
           4    hoverboards that the Plaintiff sold it had       Plaintiff notice of the delivery of
           5    “a litany of QA issues.”
                                                                 nonconforming goods. See
           6
                                                                 Exhibits 8, 9.
           7    35. The Plaintiff responded the same             Undisputed for the purposes of
           8    day by asking that the Defendant return
                the boards to the Plaintiff and requesting       this motion.
           9    (and receiving) a copy of that QVC’s QA
          10    Report.
          11    36. The QVC’s QA Report reflects a               Undisputed for the purposes of
                hoverboard with a different SKU number
          12    of T35011 and not the 604 number                 this motion, T35011 was supposed
          13    previously assigned to Plaintiff’s               to be same hoverboard as T34604
                hoverboard.
          14                                                     except QVC changed the SKU
          15                                                     when it required Defendant to ship
          16                                                     the goods directly to QVC’s
          17                                                     warehouse instead of drop ship to
          18                                                     QVC’s customers.
          19    37. Defendant continued to refuse to             Undisputed for the purposes of
                pay and refused to return the
          20    hoverboards.                                     this motion.
          21
          22    38. On or about June 23, 2017, the               Undisputed for the purposes of
          23    Plaintiff sent the Defendant an email and
                issued a Return Merchandise                      this motion.
          24    Authorization Number (“RMA”) of 1420
          25    for the return of 5808 Model C’s and
                asked the Defendant to make
          26    arrangement for its pick-up. Defendant
          27    did not respond to this email.
          28



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               DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                        DEFENDANT’S RESPONSE
           2    39. Not hearing anything, the Plaintiff         Undisputed for the purposes of
           3    sent another email on June 27, 2017 to
                reiterate its request to pick-up the boards.    this motion.
           4    Again, Defendant did not respond.
           5
                40. Still, not hearing anything, the            Undisputed for the purposes of
           6    Plaintiff sent a third email on June 27,
           7    2017 to request an update.                      this motion.
           8
                41. Defendant finally responded,            Undisputed for the purposes of
           9    telling Plaintiff that the hoverboards were
          10    “currently on HOLD pending legal            this motion.
                review.”
          11
          12    42. The hoverboards Defendant                   Undisputed for the purposes of
          13    purchased from the Plaintiff were still in
                Defendant’s warehouse upon learning             this motion.
          14    that they “had a litany of issues.”
          15
                43. The Defendant has put a hold and            Undisputed for the purposes of
          16    still has not returned any of the
          17    hoverboards it purchased from the               this motion. On July 10, 2017,
          18    Plaintiff.                                      Defendant received a letter from
          19                                                    Cash Capital Group, LLC advising
          20                                                    Defendant of their security interest
          21                                                    in and among other things, future
          22                                                    accounts where ever located.
          23    44. As of today, the Plaintiff has not          Undisputed for the purposes of
                received any returned hoverboards from
          24    the Defendant.                                  this motion. On July 10, 2017,
          25                                                    Defendant received a letter from
          26                                                    Cash Capital Group, LLC advising
          27                                                    Defendant of their security interest
          28                                                    in and among other things, future
                                                                accounts where ever located.


                                                           10
                DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                        DEFENDANT’S RESPONSE
           2    45. If the boards were returned today,          Disputed to the extent Defendant
           3    the Plaintiff would not be able to sell
                them.                                           is able to respond to such a
           4
                                                                statement.
           5    46. At no point did Defendant stop              Disputed. Defendant stopped
           6    selling the 764 hoverboards to QVC.
                Defendant continued to sell the 764             selling the hoverboards in June of
           7    hoverboards, without any suspension in          2017.
           8    sales, until the inventory was sold out.
           9
                47. Defendant continued to sell the 764 Disputed. Defendant stopped
          10    hoverboards after June of 2017.
                                                        selling the hoverboards in June of
          11
                                                                2017.
          12
                48. From June 2017 to December                  Disputed. Defendant stopped
          13    2017, the Defendant sold an additional
          14    3,658 of the 764 hoverboards                    selling the hoverboards in June of

          15                                                    2017.
                49. As of today, the Defendant has not          Undisputed for the purposes of
          16    notified the Plaintiff of any claim or suit
          17    related to the hoverboards Plaintiff sold       this motion.
                to the Defendant.
          18
          19    50. Plaintiff requested documents               Undisputed for the purposes of
          20    supporting the Defendant’s claim for
                damages and its seventh cause of action,        this motion.
          21    as per its counterclaim
          22
                51. Defendant responded by stating              Undisputed for the purposes of
          23
                “See documents bates stamped “Digital
          24    Gadgets 1 to Digital Gadgets 278’ and           this motion.
          25    electronically stored information”, and
                producing documents bates stamped
          26    “Digital Gadgets 1 to Digital Gadgets
          27    278’.
          28



                                                           11
                DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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           1         PLAINTIFF’S STATEMENT                    DEFENDANT’S RESPONSE
           2    52. None of the documents produced          Disputed. Defendant’s document
           3    were responsive to Defendant’s claim for
                damages and its seventh cause of action,    production shows that Defendant
           4    and no other documents or electronically    was unable to sell the hoverboards
           5    stored information have since been
                produced by the Defendant.                  under QVC SKU T35011.
           6
           7
           8
               Dated: December 10, 2018                    LAZARUS AND LAZARUS, P.C.
           9
          10                                               By: /s/ Harlan M. Lazarus
                                                               HARLAN M. LAZARUS, ESQ.
          11                                               Attorneys for Defendant/Counter-
          12                                               claimant, DIGITAL GADGETS, LLC
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                DEFENDANT/COUNTERCLAIMANT’S RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
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